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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION

TRE’VON A. WOODARDS,            §
                                §
    Plaintiff,                  §
                                §
v.                              §              Civil Action No. 4:20-cv-00696-O-BP
                                §
THE MICHAELS COMPANIES, et al., §
                                §
    Defendants.                 §

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
          OF THE UNITED STATES MAGISTRATE JUDGE

      The United States Magistrate Judge made Findings, Conclusions, and a

Recommendation in this case. No objections were filed, and the Magistrate Judge’s

Recommendation is ripe for review. The District Judge reviewed the proposed Findings,

Conclusions, and Recommendation for plain error. Finding none, the undersigned District

Judge believes that the Findings and Conclusions of the Magistrate Judge are correct, and

they are accepted as the Findings and Conclusions of the Court.

      Accordingly, it is ORDERED that Plaintiff’s Application to Proceed In Forma

Pauperis (ECF No. 2) is DENIED, and this case is DISMISSED WITHOUT

PREJUDICE.

      SO ORDERED on this 28th day of September, 2020.


                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE
